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     superMICHAEL CHASTAINE, State Bar #121209
 1   THE CHASTAINE LAW OFFICE
     101 Parkshore Drive, Suite 100
 2   Folsom, CA 95630
     Telephone: 916-732-7150
 3
     Attorneys for Defendant
 4   Peter Scott
 5
 6                               IN THE UNITED STATES DISTRICT COURT
 7                          FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
 9                                                    ) Case No.: 2:10 CR 292 LKK
     UNITED STATES OF AMERICA,                        )
10                                                    ) STIPULATION AND ORDER
                    Plaintiff,                        ) CONTINUING STATUS CONFERNCE
11                                                    )
            v.                                        )
12                                                    )
     PETER SCOTT, et al.,                             )
13                                                    )
                    Defendants.                       )
14
            Defendant PETER SCOTT, by and through his attorney, Michael Chastaine and
15
     ROBERT SCOTT, by and through him attorney, Matt Bockman, the United States, by and
16
     through Assistant United States Attorney Kyle Reardon, hereby stipulate and agree to continue
17
     the status hearing in the above-captioned case from Tuesday, November 2, 2010 at 9:15 a.m. to
18
     Tuesday, January 11, 2011 at 9:15 a.m. The continuance is requested to allow counsel for the
19
     defense to continue to review the discovery and for the defense and government time to evaluate
20
     and consider settlement offers. If is further stipulated that the period referred to above is
21
     excludable from calculation under the Speedy Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A).
22
23
     Dated: October 26, 2010                        The CHASTAINE LAW OFFICE
24
                                                    By: ____/s/ Michael Chastaine
25                                                         MICHAEL CHASTAINE
26                                                         Attorney for Peter Scott

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 1   Dated: October 26, 2010                     OFFICE OF THE FEDERAL DEFENDER

 2                                               By: ____/s/ Matt Bockman
 3                                                      MATT BOCKMAN
                                                        Attorney for Robert Scott
 4
 5
 6   Dated: October 26, 2010                     BENJAMIN B. WAGNER
                                                 United States Attorney
 7
                                                 By: ___/s/ Kyle Reardon
 8
                                                        KYLE REARDON
 9                                                      Assistant U.S. Attorney

10
11
12                                               ORDER

13          GOOD CAUSE APPEARING, in that it is the stipulation of the parties:

14          IT IS HEREBY ORDERED that the status conference scheduled for Tuesday, November

15   2, 2010 at 9:15 a.m. be continued to Tuesday, January 11, 2011 at 9:15 a.m. and that the period

16   from November 2, 2010 to January 11, 2011 is excludable from calculation under the Speedy

17   Trial Act pursuant to 18 U.S.C. §3161(h)(8)(A).

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19   Dated: October 27, 2010

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